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                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF TEXAS
                             SAN ANTONIO DIVISION

RYAN PFLIPSEN,                  )
                                )
       Plaintiff,               )
                                )                CIVIL ACTION
vs.                             )
                                )                FILE No. 5:24-cv-704
VICTOR H. RAMIREZ ENTERPRISES,)
 INC., d/b/a CULEBRA SUPER MEAT )
MARKET #30,,                    )
                                )
       Defendant(s).            )

                                      COMPLAINT

       COMES NOW, RYAN PFLIPSEN, by and through the undersigned counsel, and

files this, his Complaint against Defendant, VICTOR H. RAMIREZ ENTERPRISES,

INC., d/b/a CULEBRA SUPER MEAT MARKET #30, pursuant to the Americans with

Disabilities Act, 42 U.S.C. § 12181 et seq. (“ADA”) and the ADA’s Accessibility

Guidelines, 28 C.F.R. Part 36 (“ADAAG”). In support thereof, Plaintiff respectfully

shows this Court as follows:

                                     JURISDICTION

       1.      This Court has original jurisdiction over the action pursuant to 28 U.S.C. §§

1331 and 1343 for Plaintiff’s claims pursuant to 42 U.S.C. § 12181 et seq., based upon

Defendants’ failure to remove physical barriers to access and violations of Title III of the

ADA.

                                         PARTIES

       2.      Plaintiff RYAN PFLIPSEN (hereinafter “Plaintiff”) is, and has been at all

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times relevant to the instant matter, a natural person residing in San Antonio, Texas

(Bexar County).

       3.      Plaintiff is disabled as defined by the ADA.

       4.      Plaintiff is required to traverse in a wheelchair and is substantially limited

in performing one or more major life activities, including but not limited to: walking,

standing, grabbing, grasping and/or pinching.

       5.      Plaintiff uses a wheelchair for mobility purposes.

       6.      Plaintiff is also an independent advocate of the rights of similarly situated

disabled persons and is a “tester” for the purpose of asserting his civil rights, monitoring,

ensuring, and determining whether places of public accommodation are in compliance

with the ADA. His motivation to return to a location, in part, stems from a desire to

utilize ADA litigation to make Plaintiff’s community more accessible for Plaintiff and

others, and pledges to do whatever is necessary to create the requisite standing to confer

jurisdiction upon this Court so an injunction can be issued correcting the numerous ADA

violations on this Property, including returning to the Property as soon as it is accessible

(“Advocacy Purposes”).”

       7.      Defendant, VICTOR H. RAMIREZ ENTERPRISES, INC. (hereinafter

“Culebra Meat Market Defendant”) is a Texas limited liability company operating a for

profit retail “strip mall” that transacts business in the state of Texas and within this

judicial district.

       8.      The Culebra Super Meat Market Defendant may be properly served with

process at the following location and registered agent: Victor H. Ramirez, 6060 Pearsall

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Road, San Antonio, Texas 78242.

                              FACTUAL ALLEGATIONS

       9.      On or about May 24, 2024, Plaintiff was a customer at “Culebra Super

Meat Market #30,” a business located at 1630 Bandera Road, San Antonio, Texas 78228,

referenced herein as “the Shop.”

       10.     The Culebra Super Meat Market Defendant is the owner or co-owners of

the real property and improvements that the Shop is situated upon and that is the subject

of this action, referenced herein as the “Property.”

       11.     Plaintiff lives approximately 5 miles from the Shop and Property.

       12.     Plaintiff’s access to the business(es) located at 1630 Bandera Road, San

Antonio, Bexar County Property Identification number 486522 (“the Property”), and/or

full and equal enjoyment of the goods, services, foods, drinks, facilities, privileges,

advantages and/or accommodations offered therein were denied and/or limited because of

his disabilities, and he will be denied and/or limited in the future unless and until

Defendant is compelled to remove the physical barriers to access and correct the ADA

violations that exist at the Shops, including those set forth in this Complaint.

       13.     Plaintiff has visited the Property at least once before as a customer and

advocate for the disabled. Plaintiff intends on revisiting the Property within six months

or sooner, as soon as the barriers to access detailed in this Complaint are removed and the

Property is accessible again. The purpose of the revisit is to be a regular customer, to

determine if and when the Property is made accessible and to maintain standing for this

lawsuit for Advocacy Purposes.

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       14.      Plaintiff intends to revisit the Shop and Property to purchase goods and/or

services.

       15.      Plaintiff travelled to the Shop and Property as a customer and as an

independent advocate for the disabled, encountered the barriers to access at the Shops and

Property that are detailed in this Complaint, engaged those barriers, suffered legal harm

and legal injury, and will continue to suffer such harm and injury as a result of the illegal

barriers to access present at the Shop and Property.


                                   COUNT I
                       VIOLATIONS OF THE ADA AND ADAAG

       16.      On July 26, 1990, Congress enacted the Americans with Disabilities Act 42

U.S.C. § 12101 et seq.

       17.      Congress found, among other things, that:

       (i)      some 43,000,000 Americans have one or more physical or mental
                disabilities, and this number is increasing as the population as a
                whole is growing older;

       (ii)     historically, society has tended to isolate and segregate individuals
                with disabilities, and, despite some improvements, such forms of
                discrimination against individuals with disabilities continue to be a
                serious and pervasive social problem;

       (iii)    discrimination against individuals with disabilities persists in such
                critical areas as employment, housing public accommodations,
                education,        transportation,    communication,        recreation,
                institutionalization, health services, voting, and access to public
                services;

       (iv)     individuals with disabilities continually encounter various forms of
                discrimination, including outright intentional exclusion, the
                discriminatory effects of architectural, transportation, and
                communication barriers, overprotective rules and policies, failure to

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                make modifications to existing facilities and practices, exclusionary
                qualification standards and criteria, segregation, and relegation to
                lesser service, programs, activities, benefits, jobs, or other
                opportunities; and

       (v)      the continuing existence of unfair and unnecessary discrimination
                and prejudice denies people with disabilities the opportunity to
                compete on an equal basis and to pursue those opportunities for
                which our free society is justifiably famous, and costs the United
                States billions of dollars in unnecessary expenses resulting from
                dependency and non-productivity.

42 U.S.C. § 12101(a)(1) - (3), (5) and (9).

       18.      Congress explicitly stated that the purpose of the ADA was to:

       (i)      provide a clear and comprehensive national mandate for the
                elimination of discrimination against individuals with disabilities;

       (ii)     provide a clear, strong, consistent, enforceable standards addressing
                discrimination against individuals with disabilities; and

                *****

       (iv)     invoke the sweep of congressional authority, including the power to
                enforce the fourteenth amendment and to regulate commerce, in
                order to address the major areas of discrimination faced day-to-day
                by people with disabilities.

42 U.S.C. § 12101(b)(1)(2) and (4).

       19.      The congressional legislation provided places of public accommodation

one and a half years from the enactment of the ADA to implement its requirements.

       20.      The effective date of Title III of the ADA was January 26, 1992 (or January

26, 1993 if a defendant has 10 or fewer employees and gross receipts of $500,000 or

less). 42 U.S.C. § 12181; 28 C.F.R. § 36.508(a).

       21.      The Shop is a public accommodations and service establishments.


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       22.    The Property is a public accommodation and service establishment.

       23.    Pursuant to the mandates of 42 U.S.C. § 12134(a), on July 26, 1991, the

Department of Justice and Office of Attorney General promulgated federal regulations to

implement the requirements of the ADA. 28 C.F.R. Part 36.

       24.    Public accommodations were required to conform to these regulations by

January 26, 1992 (or by January 26, 1993 if a defendant has 10 or fewer employees and

gross receipts of $500,000 or less). 42 U.S.C. § 12181 et seq.; 28 C.F.R. § 36.508(a).

       25.    The Shop must be, but is not, in compliance with the ADA and ADAAG.

       26.    The Property must be, but is not, in compliance with the ADA and

ADAAG.

       27.    Plaintiff has attempted to, and has to the extent possible, accessed the Shop

and the Property in his capacity as a customer of the Shop and Property and as an

independent advocate for the disabled, but could not fully do so because of his disabilities

resulting from the physical barriers to access, dangerous conditions and ADA violations

that exist at the Shops and Property that preclude and/or limit his access to the Shop and

Property and/or the goods, services, facilities, privileges, advantages and/or

accommodations offered therein, including those barriers, conditions and ADA violations

more specifically set forth in this Complaint.

       28.    Plaintiff intends to visit the Shop and Property again in the very near future

as a customer in order to utilize all of the goods, services, facilities, privileges,

advantages and/or accommodations commonly offered at the Shop and Property and as

an independent advocate for the disabled, but will be unable to fully do so because of his

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disability and the physical barriers to access, dangerous conditions and ADA violations

that exist at the Shop and Property that preclude and/or limit his access to the Shop and

Property and/or the goods, services, facilities, privileges, advantages and/or

accommodations offered therein, including those barriers, conditions and ADA violations

more specifically set forth in this Complaint.

       29.      Defendants have discriminated against Plaintiff (and others with

disabilities) by denying his access to, and full and equal enjoyment of the goods, services,

facilities, privileges, advantages and/or accommodations of the Shop and Property, as

prohibited by, and by failing to remove architectural barriers as required by, 42 U.S.C. §

12182(b)(2)(A)(iv).

       30.      Defendants will continue to discriminate against Plaintiff and others with

disabilities unless and until Defendants are compelled to remove all physical barriers that

exist at the Shop and Property, including those specifically set forth herein, and make the

Shop and Property accessible to and usable by Plaintiff and other persons with

disabilities.

       31.      A specific list of unlawful physical barriers, dangerous conditions and

ADA violations which Plaintiff experienced and/or observed that precluded and/or

limited Plaintiff’s access to the Shop and Property and the full and equal enjoyment of

the goods, services, facilities, privileges, advantages and accommodations of the Shop

and Property include, but are not limited to:

       (a)      ACCESSIBLE ELEMENTS:

                (i) The property lacks appropriate signage with respect to each of

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       the accessible parking spaces directly in front of the store in that

       it is either severely faded and/or missing entirely in violation of

       Section 502 of the 2010 ADAAG standards. This violation made

       it difficult and dangerous for Plaintiff to exit/enter their vehicle

       and navigate their way into the subject facility.

   (ii) The accessible parking spaces and accessible aisle directly in

       front of the store contains broken, unstable and non-slip resistant

       surfaces including excess foliage in violation of Section 502 of

       the 2010 ADAAG standards. This violation made it difficult and

       dangerous for Plaintiff to exit/enter their vehicle and navigate

       their way into the subject facility.

   (iii)   The front portion of the property contains “stand up” or

       promotional items for the store that often “block” or fail to

       provide at least 36 inches clearance for the pathway required to

       access the property in violation of Section 502 of the 2010

       ADAAG standards.          This violation made it difficult and

       dangerous for Plaintiff to exit/enter their vehicle and navigate

       their way into the subject facility.

   (iv)    The handicapped public bathroom, despite its attendant

       outside signage      indicating that is, indeed,      handicapped

       accessible, is either totally devoid of handrails and/or includes

       “broken” handrails surrounding the commode in violation of

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       Section 609 of the 2010 ADAAG standards. This violation made

       it difficult and dangerous for Plaintiff to appropriately use the

       subject facility.

   (v) The flushing mechanism for the handicapped toilet is non-

       compliant under in violation of Section 604 of the 2010 ADAAG

       standards. This violation made it difficult and dangerous for

       Plaintiff to appropriately use the subject facility.

   (vi)    The toilet paper mechanism is located at an improper height

       and is also non-compliant in violation of Section 604 of the 2010

       ADAAG standards.          This violation made it difficult and

       dangerous for Plaintiff to appropriately use the subject facility.

   (vii)   The handicapped bathroom is completely littered with

       cleaning products around the commode leaving it a slipping and

       tripping hazard for disabled individuals in violation of Section

       604 of the 2010 ADAAG standards.             This violation made it

       difficult and dangerous for Plaintiff to appropriately use the

       subject facility.

   (viii) The subject bathroom has exposed pipe under the sink

       causing a hazard to disabled individuals when navigating the

       wash basin in violation of Section 606.5 of the 2010 ADAAG

       standards. This violation made it difficult and dangerous for

       Plaintiff to appropriately use the subject facility.

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             (ix)   The door opening and closing mechanisms for the

                handicapped bathroom are inappropriate and out of compliance

                on both the outside door and the inside door leading to the

                commode in violation of Section 309.4 and 604 of the 2010

                ADAAG standards.         This violation made it difficult and

                dangerous for Plaintiff to appropriately use the subject facility.

             (x) Defendants fail to adhere to a policy, practice and procedure to

                ensure that all facilities are readily accessible to and usable by

                disabled individuals.

      32.    The violations enumerated above may not be a complete list of the barriers,

conditions or violations encountered by Plaintiff and/or which exist at the Shop and

Property.

      33.    Plaintiff requires an inspection of the Shop and Property in order to

determine all of the discriminatory conditions present at the Shop and Property in

violation of the ADA.

      34.    The removal of the physical barriers, dangerous conditions and ADA

violations alleged herein is readily achievable and can be accomplished and carried out

without significant difficulty or expense. 42 U.S.C. § 12182(b)(2)(A)(iv); 42 U.S.C. §

12181(9); 28 C.F.R. § 36.304.

      35.    All of the violations alleged herein are readily achievable to modify to

bring the Shop and Property into compliance with the ADA.

      36.    Upon information and good faith belief, the removal of the physical barriers

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and dangerous conditions present at the Shop and Property are readily achievable because

the nature and cost of the modifications are relatively low.

       37.    Upon information and good faith belief, the removal of the physical barriers

and dangerous conditions present at the Shop and Property are readily achievable because

Defendants have the financial resources to make the necessary modifications.

       38.    Upon information and good faith belief, the Shop and Property have been

altered since 2010.

       39.    In instances where the 2010 ADAAG standards do not apply, the 1991

ADAAG standards apply, and all of the alleged violations set forth herein can be

modified to comply with the 1991 ADAAG standards.

       40.    Plaintiff is without adequate remedy at law, is suffering irreparable harm,

and reasonably anticipates that he will continue to suffer irreparable harm unless and

until Defendants are required to remove the physical barriers, dangerous conditions and

ADA violations that exist at the Shop and Property, including those alleged herein.

       41.    Plaintiff’s requested relief serves the public interest.

       42.    The benefit to Plaintiff and the public of the relief outweighs any resulting

detriment to Defendants.

       43.    Plaintiff’s counsel is entitled to recover its reasonable attorney’s fees and

costs of litigation from Defendants pursuant to 42 U.S.C. §§ 12188 and 12205.

       44.    Pursuant to 42 U.S.C. § 12188(a), this Court is provided authority to grant

injunctive relief to Plaintiff, including the issuance of an Order directing Defendants to

modify the Shop and Property to the extent required by the ADA.

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WHEREFORE, Plaintiff prays as follows:

(a)   That the Court find the Shop in violation of the ADA and ADAAG;

(b)   That the Court issue a permanent injunction enjoining Defendants from

      continuing their discriminatory practices;

(c)   That the Court issue an Order requiring Defendants to (i) remove the

      physical barriers to access and (ii) alter the subject the Shop to make them

      readily accessible to and useable by individuals with disabilities to the

      extent required by the ADA;

(d)   That the Court award Plaintiff his reasonable attorneys' fees, litigation

      expenses and costs; and

(e)   That the Court grant such further relief as deemed just and equitable in light

      of the circumstances.

                                  Dated: June 24, 2024.

                                  Respectfully submitted,
                                  /s/ Dennis R. Kurz
                                  Dennis R. Kurz
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